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            Case: 1:20-cr-00309 Document #: 3 Filed: 06/24/20 Page 1 of 1 PageID #:25
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JUD0EKEIIDAII. MAGISIRAIEJU6EUA'W,
                                 UNITED STATES DISTRICT COURT
                                                                          FELONY
                                 NORTHERN DISTRICT OF ILLINOIS

                     DESIGNATION SHEET FOR CRIMINAL PROCEEDINGS

      1.     Is this an indictment or information arising out of offenses charged in one or more
             previously-filed complaints signed by a magistrate judge? No

             1b.    Should this indictment or information receive a new case number from the
                    court? Yes

      2.     Is this an indictment or information that supersed.es one or more previously-filed
             indictments or informations? No

      3.     Is this a re-filing of a previously dismissed indictment or information? No

      4.     Is this a case arising out of the failure of the defendant to appear in a criminal
             proceeding in this Court? No

      5.     Is this a transfer of probation supervision from another district to this District?
             No

      6.     what level of offense is this indictment or information? Felony

      7.     Does this indictment or information involve eight or more defendants? No

      8.     Does this indictment or information include a conspiracy count? Yes

      9.     Identifu the type of offense that describes the count, other than any conspiracy
             count, with the most severe penalty: other Federal statutes (rrr)

      10.    List the statute of each of the offenses charged in the indictment or information.
             Title 18, United States Code, Section 19b6(a)(BXA)
             Title 21, United States Code, Sections 8a1(a)(1) and 846
                                                           /s/ Grayson Sang Walker
                                                         Grayson Sang Walker
                                                         John D. Mitchell
                                                         Maureen McCurry
                                                         Assistant United States Attorney




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                                                                               THOMASG. BRUTON
                                                                            CLERK, U.S. DISTRICT COURT
